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                    EXHIBIT 2
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                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   HANSHOW TECHNOLOGY CO.,                         §
   LTD. AND SHANGHAI HANSHI                        §
   INFORMATION TECHNOLOGY                          §
   CO., LTD                                        §
                                                   §           Case No. 2:23-cv-00617-RWS-RSP
           Plaintiffs,                             §
                                                   §
   v.                                              §
                                                   §
   SES-IMAGOTAG SA, SES-                           §
   IMAGOTAG GMBH AND                               §
   CAPTANA GMBH                                    §
                                                   §
           Defendants.                             §


                            DECLARATION OF JESSICA VITTORIO

         1.       My name is Jessica Vittorio. I am over the age of 21 years old, and I have never

  been convicted of a felony. I am of sound mind, and I am otherwise competent to make this

  Declaration. For the limited purpose of stating facts in support of Captana GmbH’s Motion to

  Dismiss for Lack of Personal Jurisdiction, I have been designated as the corporate representative

  of Captana GmbH. The facts stated in this Declaration are within my personal knowledge and are

  true and correct.

         2.       I oversee all legal aspects of commercial activities and operations for VusionGroup

  SA in the United States. Because of this, I have working knowledge of how sales are effectuated

  amongst the defendants and other affiliates of VusionGroup SA, including the structure of those

  companies, and the manufacturing, customs, and other logistics involved in U.S. sales of the

  accused products in this case.




  DECLARATION OF JESSICA VITTORIO
  ON BEHALF OF CAPTANA GMBH                                                                  PAGE 1
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         3.      VusionGroup SA (f/k/a SES-imagotag SA) is a French corporation and the parent

  company of Defendant Captana GmbH.

         4.      VusionGroup SA is a technology developer that sells its products in Europe. One

  such device is the Captana™ sensor and camera system.

         5.      Captana GmbH ("Captana") is corporation organized and existing under the laws

  of Germany.

         6.      Although it is a wholly owned subsidiary of VusionGroup SA, Captana GmbH is a

  legally distinct entity from Defendants VusionGroup SA (f/k/a SES-Imagotag SA) and

  VusionGroup GmbH.

         7.      Captana GmbH began as a technology startup known as Findbox.

         8.      SES-Imagotag SA acquired a controlling interest in Captana GmbH in 2017.

         9.      Captana GmbH has been an independent, operational company and brand before

  and after SES-imagotag SA’s acquisition. It develops its own technologies and has maintained

  largely uninterrupted leadership, with Michael Unmussig serving as its CEO since its founding.

         10.     Captana GmbH develops technology that is used in the Captana™ products.

         11.     Captana GmbH does not maintain a place of business or employees in the United

  States or the State of Texas.

         12.     Captana GmbH does not sell, advertise, import, or make the Captana™ devices in

  Texas or the United States.

         13.     My name is Jessica Vittorio. My date of birth is February 6, 1991. I declare under

  penalty of perjury under the laws of the United States of America that the foregoing is true and

  correct.




  DECLARATION OF JESSICA VITTORIO
  ON BEHALF OF CAPTANA GMBH                                                                PAGE 2
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  Executed on the 25th
                  ___ day of ________________
                                April         2024.



                                                 Jessica Vittorio




  DECLARATION OF JESSICA VITTORIO
  ON BEHALF OF CAPTANA GMBH                                                        PAGE 3
